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A 0 2458 (Rev 12/03) Sheet 1 -Judgment in a Criminal Case



                                UNITED STA TES DISTRICT COURT
                                                            h1IDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JCTDGRlENT IN A CRIRIINAL CASE

                                                                      CASE NUhIBER: 8:05-cr-294-T-30TIJM
                                                                      USh,l NUMBER: 42955-0 18



REYNALDO NAVA
                                                                      Defendant's Attorney: Scott Robbins, cja.

THE DEFENDANT:

-
X pleaded guil~yto count(s) ONE (1) of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.


TITLE 8: SECTION                         NATURE OF OFFENSE                                       OFFENSE ENDED              COUNT

21 U.S.C. $$ 816 and                     Conspiracy to Possess With Intent to Distribute         June 14, 2005              One
84 1 (b)( l )(A)(ii)                     5 Kilograms or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- Thc defendant has been found not guilty on count(s)
X Count(s) TWO (2) of the Indictment is dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments iniposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                        Date of' Imposition of' Sentence: March 2, 2006




                                                                                        DATE: klarch      7. 2006
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A 0 245B (Rev 12/03) Sheet 2 - Imprisonnlent
Defendant:       REYNALDONAVA                                                                               Judgment - Page 2 of 5
Case No.:        8:05-cr-294-T-30TBM




          After co~isideringthe advisory seriterlci~lgguidelines a n d all of t h e factors identified in Title 18 U.S.C.
$5 3553(a)(l)-(7), tlie court finds that the senterice imposed is sufficient, but not greater thau necessary, to corliply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total t e r n of FIFTY-SEVEN (57) hIO3THS as to Count One of the Indictment.



-
X The court nlakes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL).



-
X The defendant is remanded to the custody of the United States hlarshal.
-The defendant shall surrender to the United Slates hlarshal for this district.
          - at -a.m./p.ni.    on -.
          - as notified by the United Stares Marshal.

- Thc deliendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - bcfore 2 p.m. on -.
          - as notified by the United Slates h,larshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                                 at

                                                                         . with a certified copy of this judgment.

                                                                                          United States Marshal



                                                                        Deputy hlarshal
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.-\O215B (Rev. 12/03) Sheet 3 -Supervised Release
Defendant:           REYNXLDONAVA                                                                                   Judgment - Page 3of 6
Case No.:            8:05-cr-294-T-30TBM
                                                            SUPERVISED RELEASE

            U p o n release f r o m imprisonment, t h e defendant shall be o n supervised release f o r a t e r m of FIVE (5) YEARS as t o
C o ~ l n tO n e of t h e Indictment.

        The defendant shall repon to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state. o r local crime. The defendant shall not illegally possess a controlled substance.
T h e defendant shall refrain from any unlawful use of a controlled substance.

X
-          The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
           probation officer.

             If this judgment imposes a fine o r a restitution it is a condition of supenlised release that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

             Thc defendant shall comply with the standard conditions that have been adopted b y this court as well as ivith any additional
             conditions o n the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
  1)         the defendant shall not leave the judicial district nithout the permission of the court or probation officer;

 2)          the defendant shall report to the probation officer and shall submit a truthful and complete \witten report within the first five days of each
             month;

 3)          the defendant shall anslver truthfully all inquiries by the probation officer and follo\v the instructions of the probation officer;

 4)          the defendant shall support his or her dependents and meet other family responsibilities;

 5)          the defendant shall \vork regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
             acceptable reasons;

 6)          the defendant shall notify the probation officer at least ten days prior to any change it1 residerlcc or employment;

  7          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

  8)         the defendant shall not frequent places whcrc controlled substances arc illegally sold, used, distributed, or administered;

 9)          rhe defendant shall not associate with any persons engaged in criminal actit-ity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

  10)        the defendant shall permit a probation officer to visit him or her at any time at home or clsc\vhcre and shall pcmiit confiscation of any
             contraband observed in plain vie\\, of the probation officer;

  I I)       the dcfendant shall notify the probation officcr within seventy-nvo hours of being arrested or qucstioned by n law enforcement officer:

  12)        the defendmt shall not enter into any agreement to act as an informer or a special agent of a la\v enforcement agency without the
             perni~ssionof the court;

  13)        as directed by thc probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal rccord
             or personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's
             compliance with such notification rcquirrnicnt.
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A 0 245B (Rev. 12/03) Sheet 3C -Supervised Release




                                             SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall also comply with the following addilional conditions of suprviscd release:

-
X         If rhe defendant be deported, helshe shall not be allowed to re-enter the United States without the express permission of the
          appropriate governmental authority.

-
X         The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on thc probalion
          officer's determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed
          104 tests per year.
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.A0 24SB (Rev 12/03) Sherl5 - Crmi~nalhlonrtary Penalties

Defendant:           REYNALDO NAVA                                                                         Judgment - Page 2 of 6
Case No.:            8:05cr-294-T-30TBM

                                               CRLMINAL hfONETARY PENALTIES

          The defendant ~ilustpay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                               .Assessnient                                                        Total Restit~~tion

          Totals:              $100.00                               \f'ai-i-ed                    N/A


-         The deternlination of restitution is deferred until -.                                        ill cr Criminal Cnsc ( A 0 245C) will
                                                                                  An Anlended Juclgr?le~~r
          be entered after such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. 3
          3664(i), all nonfederal victims must be paifbefore ihe United States.
                                                                                                                   Priority Order or
                                                      *Total                         Amount of                     Percentage of
Name of I'avee                                      Amount of Loss                Restitution Ordered              Parment




                               Totals:              S                             S

 -         Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall pay interest on any fine or restitution of more than $2,500. unless the restitution or tine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. 5 3612(t). All of the payment options on Sheet
                                                                     ?
          6 nlay be subject to penalties for delinquency and de ault, pursuant to 18 U.S.C. 8 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine             - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 110A, and 113A of Title 18 for the offenses
conunitted on or after September 13. 1994. but before April 23. 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Pay~ilerits
Defendant:        REJWXLDO NAVA                                                                     Judgment - Page 6of 6
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                                                 SCHEDULE OF PAYILIEiVTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.      X         Lump sum payment of $ 100.00 is due immediately, balance due
                           - not later than                   . or
                           - in accordance        - C. - D. - E or - F below; or
B.      -         Payment to begin immediately (may be combined with -C. -D, or -F below); or
C.      -         Payment in equal                 (e.g.. weekly. monthly, quarterly) installn~entsof S             over a
                  period of          (e.g., months or years). to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                (e.g.. weekly, monthly, quarterly) iiistallments of S               over a
                  period of
                               , (e.g., months or years) to commence                      (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
E.       -        Payment during the term of supervised release will commence within                         (e.g.. 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time. or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetar penalties is due during irn risonment. All criminal monetary penalties, except                              made through the
         b                             !
Federal ureau of Prisons' Inmate itlancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and roperty.
or portions thereof, sub'ect to forfeiture. which are in the possession or control of the defendant or the de endant's        P
                           d
nominees, to include $2 0,045 in U.S. Currency.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) cornniunity restirution, (6) fine interest (7) penalties. and (8) costs. including cost of prosecution and court costs.
